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           6 Attorneys for Debtor

           7 Northern Holding, LLC

           8

           9
                                        UNITED STATES BANKRUPTCY COURT
          10
                                         CENTRAL DISTRICT OF CALIFORNIA
          11
                                                SANTA ANA DIVISION
          12

          13
               In re                                      )   Case No. 8:20-bk-13014-MW
                                                          )
          14           Northern Holding, LLC,             )   Chapter 11
                                                          )
          15                                              )   SUMMARY OF ASSETS AND
                                                  Debtor. )   LIABILITIES; SCHEDULES A/B, D, E/F,
          16                                              )   G, H; DECLARATION RE NON-
                                                          )   INDIVUDUAL DEBTORS SCHEDULES;
          17
                                                          )   STATEMENT OF FINANCIAL AFFAIRS;
          18                                              )   DISCLOSURE OF ATTORNEY
                                                          )   COMPENSATION
          19                                              )
                                                          )
          20

          21 ///

          22 ///

          23 ///

          24 ///

          25 ///

          26 ///

          27 ///

          28

RESNIK HAYES
 MORADI LLP
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 10, 2020                       X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Leroy Codding
                                                                         Printed name

                                                                         Managing Member
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Debtor name            Northern Holding, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

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                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       25,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,500,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       28,000,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       23,020,244.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,440,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         29,460,244.10




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         Northern Holding, LLC                                                         Case number (If known) 8:20-bk-13014-MW
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Equipment (see attached list)                                                    $0.00    Appraisal                       $2,500,000.00



 51.       Total of Part 8.                                                                                                      $2,500,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                                                                                              �
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                                                                                                                      Attachment 1
                                                        Winerv Equipment Sch�dule

Photo#                  Description                  S/N         Hrs/Miles     Condition           Notes                  Value
  1       900 Gal French Oak Foudre (Qty of 2)                                  Average          2014- 2015                 24,000
                                                                                                                      $
  1       600 Gal French Oak Foudre                                             Average                                      7,000
                                                                                                                      $
  2       2,900Gal French Oak Tanks (Qty of 11)                                 Average          2014- 2015                280,500
                                                                                                                      $
  3      Waukesha 2085 (Qty of 4)                                               Average                                     14,000
                                                                                                                      $
  4      Waukesha 130                                                           Average                                      9,000
                                                                                                                      $
  5       Toyota 42-6FGU 15                         63061          8,251        Average           3k #, LPG                  4,000
                                                                                                                      $
  6      Willmes 25ton press                        15361                       Average                                     40,000
                                                                                                                      $
  7      Willmes 7.5ton press                       40433                       Average             2002                    20,000
                                                                                                                      $
  8      Velo 150 Rotary fermenter                  51240                       Average             1998                    10,000
                                                                                                                      $
  9      Velo 150 Rotary fermenter                  51241                       Average             1998                    10,000
                                                                                                                      $
  10     Velo 150 Rotary fermenter                  51242                       Average             1998                    10,000
                                                                                                                      $
  11     Incline Elevator                                                       Average    upgraded large hopper            25,000
                                                                                                                      $
  12     Toyota 42-6FGU18                           60505          5,646        Average        3,530#,LPG , S S              5,000
                                                                                                                      $
  13     Velo Lees Filter Mdl F EC C lA           0053C 418                     Average          40x40, 1994                 7,500
                                                                                                                      $
  14     Della Toffola Plate Filter                252570                       Average                                      6,500
                                                                                                                      $
 15      Willmes press                                                              Fair   1.5 t/h white , 3t/h red   $      7,500
 16      Velo Cross Flow FilterTMF-3-A-02         T M F 00lOO                       Good            2014                    60,000
                                                                                                                      $
 17      Plate Filter                                                           Average           20Plates                   2,500
                                                                                                                      $
 18      Della Toffola Plate Filter                                                 Fair          40Plates            $      5,000
 19      Delta E4 Destemmer                        011300                       Average                                     18,000
                                                                                                                      $
 20      6 Inch Waukesha Must Pump                                              Average                                     15,000
                                                                                                                      $
 21      Unscrambler Table                                                      Average                                      5,000
                                                                                                                      $
 22      GAi 600 Filler and Corker                A CB 5000                     Average             2003                    25,000
                                                                                                                      $
 23      Faccio Cork Hopper mdl EST                  114                        Average             2008                     5,000
                                                                                                                      $
 24      GAi 4612 DL Capper                                                     Average                                     95,000
                                                                                                                      $
 25      Kosme Labeler mdl 7209T 52E2               3709                        Average             2003                    35,000
                                                                                                                      $
 26      3M Top Case Sealer                                                     Average             2008                     1,500
                                                                                                                      $
N/A      10 HP Waukesha Cent .Pumps (Qty of 31)                                 Average                               $    139,500
N/A      2Barrel Racks (Qty of 1,000)                                           Average                                     50,000
                                                                                                                      $
N/A      Toyota 7FGU20                              67049          3,388        Average    3,340#, LPG , Bindumper           5,500
                                                                                                                      $
N/A      Crush Pad Hopper                                                       Average     14" Auger , 20', 5ton           20,000
                                                                                                                      $
N/A      Ozone Generator                                                        Average                               $      7,500
N/A      Waukesha Pump (Qty of 5)                                               Average                               $     22,500
N/A      Oak Barrels (Qty of 1,290)                                             Average                               $     96,750
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                                                                                          Attac/Jme11t 2
·1
                                        Wi11e Ta11k Sc/Jedule

              Capacity       Quantity                  Tank ID's                        Value
                 550            5                         N/A                     $      33,750.00
                 693            1                           37                    $       8,500.00
                1,339           1                          136                    $       9,000.00
                1,501           1                           36                    $      10,000.00
                1,551           8             38, 39, 40, 41, 42, 43, 44, 45      $      84,000.00
                1,693           1                          135                    $      11,500.00
                2,000           1                          134                    $      12,000.00
                2,088           1                         34, 35,                 $      12,500.00
                2,155           2                       101, 102                  $      26,000.00
                2,525           2                         32, 33                  $      28,500.00
                2,924           2                          133                    $      31,000.00
                3,002           1                  109, 110, 115, 120             $      16,000.00
                3,500           4          114, 122, 123, 124, 125, 130, 131      $      72,000.00
                3,774           7                       3, 4, 5, 6                $     131,250.00
                3,807           4               103, 108, 121, 128, 129           $      76,000.00
                4,012           5        104, 105, 106, 107, 111, 112, 113, 116   $     100,000.00
.I              4,559           9                         7, 8, 9_                $     198,000.00
                4,844           3                  117, 118, 126, 127             $      69,000.00
               5,310            5                          132                    $     123,750.00
               5,961            9             12, 13, 14, 20, 21, 22, 23, 24      $     247,500.00
               7,150            1                            2                    $      32,250.00
               7,190            1                            1                    $      32,500.00
               8,530            7              10, 11, 15, 16, 17, 18, 19         $     264,250.00
               8,531            6                 26, 27, 28, 29, 30, 31          $     226,500.00
               10,328           1                          57                     $      44,750.00
              389,714          88                                                 $   1,900,500.00
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                                                                                          Attacl11ne11t 3
                                       Vineyard Equipment Sc/Jedule


          Qty                                  Description                               Value
           3    Landini Trekker vineyard track tractors                              $       37,500
           8    2, 1/2 ton bin grape trailers                                        $       32,000
           2    Dodge 3/4 ton Desi I 4x4 pickup trucks                               $       25,000
           2    Ford F 150 4x4 Pickup trucks                                         $       20,000
           3    3, 1/2 ton bin grape trailers                                        $       18,000
           1    New Holland TK 90 vineyard trac tractor                              $       15,000
           1    Caterpillar 246 skid steer w/ fork, and grapple bucket attachments   $       15,000
           1    Landini 75v vineyard wheel tractor                                   $       12,500
           2    TCM 3000 lb Forklifts                                                $       12,000
           1    Caterpillar RC 60 6000 lb All Terrin Forklift                        $       10,000
           2    Polaris 6x6 atv's                                                    $       10,000
           1    Ford F 550 4x4 flatbed truck                                         $       10,000
           1    New Holland TC 29 vineyard wheel tractor                             $        7,500
           1    Trail Master 25ft flat deck trailer                                  $        7,500
           1    Dodge 3/4 ton 2wd pickup truck                                       $        7,500
           1
j
                Ford F 150 2wd Pickup truck                                          $        6,500
           1    Lift master fork attachement bin dumper                              $        5,500
           1    1000gal water trailer / mix station                                  $        5,000
           1    Schmeiser 4ft vineyard grain drill                                   $        5,000
           1    Kubota RTV 900utlility vehicle                                       $        5,000
           1    Kubota RTV 500Utility vehicle                                        $        5,000
           1    Trail Master 14 ft dump trailer                                      $        5,000
           1    Dodge 1/2 ton 2wd pickup truck                                       $        5,000
           1    Caterpillar D6-9U track tractor                                      $        5,000
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 Debtor         Northern Holding, LLC                                                        Case number (If known) 8:20-bk-13014-MW
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           55.1.     1172 San Marcos
                     Road, Paso Robles,
                     CA 93446 ("1172
                     property"); winery
                     facility (42,000 sq ft)
                     and residential
                     apartment; APN
                     026-104-001. Winery
                     tenant is Rabbit Ridge
                     Wine Winery; base
                     rate of $15,000/month
                     (rents are current and
                     segregated); profit
                     share of third party
                     Custom Crush revenue
                     billed monthly in
                     arrears. Apartment
                     tenant is Bill Tolar who
                     pays $1,600 (rents are
                     current and
                     segregated); lease
                     ends 6/30/2021.
                     Debtor is working on
                     securing a contract
                     with a third party to
                     farm the land and will
                     receive revenue from
                     rents and fruit sales.               Fee simple                        $0.00    Appraisal                   $11,500,000.00


           55.2.     2380 Live Oak Road,
                     Paso Robles, CA
                     93446 ("Live Oak
                     property"); 2 homes on
                     the property and
                     vineyard; APN
                     026-342-039. Unit #1
                     ("small") is currently
                     vacant; new tenants
                     slated to move in on/or
                     about 12/1/2020 for
                     $1,800/month. Unit #2
                     ("large") is leased to
                     former owner Erich
                     Russell for $12,000
                     monthly (rents are
                     current and
                     segregated); lease
                     ends 1/1/2022. Debtor
                     is working on securing
                     a contract with a third
                     party to farm the land
                     and will receive
                     revenue from rents and
                     fruit sales.                         Fee simple                        $0.00    Appraisal                    $9,700,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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                Name

            55.3.    APN 027-145-022
                     ("Texas Road
                     property"); no street
                     address for this
                     property, access
                     through 1172 San
                     Marcos Road, Paso
                     Robles, CA 93446; 42
                     acre vineyard. Debtor
                     is working on securing
                     a contract with a third
                     party to farm the land
                     and will receive
                     revenue from rents and
                     fruit sales.                         Fee simple                        $0.00      Appraisal                  $4,300,000.00




 56.        Total of Part 9.                                                                                                   $25,500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor          Northern Holding, LLC                                                                               Case number (If known) 8:20-bk-13014-MW
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,500,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $25,500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,500,000.00            + 91b.           $25,500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $28,000,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             8:20-bk-13014-MW
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Farm Credit West, FLCA                         Describe debtor's property that is subject to a lien             $19,800,000.00            $25,500,000.00
       Creditor's Name                                Cross-collateralized lien on 1172, Live Oak and
       c/o Frandzel Robins Bloom &                    Texas Road. Loan assumed by Debtor from
       Csato                                          Erich Russell.
       Attn: Michael J. Gomez,Reed
       Waddell
       1000 Wilshire Boulevard,
       19th Floor
       Los Angeles, CA 90017
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4101;1101
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       San Luis Obispo Tax
 2.2                                                                                                                     $3,200,000.00           $11,500,000.00
       Collector                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                1172 property
       1055 Monterey St Room
       D290
       San Luis Obispo, CA 93408
       Creditor's mailing address                     Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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            Case 8:20-bk-13014-MW                             Doc 17 Filed 11/10/20 Entered 11/10/20 18:02:37                                    Desc
                                                              Main Document    Page 13 of 28
 Debtor       Northern Holding, LLC                                                                   Case number (if known)       8:20-bk-13014-MW
              Name

        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        San Luis Obispo Tax
 2.3                                                                                                                            $13,625.84              $0.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               Live Oak property
        1055 Monterey St Room
        D290
        San Luis Obispo, CA 93408
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2020                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        San Luis Obispo Tax
 2.4                                                                                                                             $6,618.26              $0.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               Texas Road property
        1055 Monterey St Room
        D290
        San Luis Obispo, CA 93408
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2020                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $23,020,244.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       10

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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 Debtor       Northern Holding, LLC                                                             Case number (if known)         8:20-bk-13014-MW
              Name

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Farm Credit West
        3755 Atherton Rd                                                                                  Line   2.1
        11707 Fair Oaks Blvd
        Rocklin, CA 95765

        Mortgage Lender Services as Agent
        Farm Credit West, FLCA, as Trustee                                                                Line   2.1
        11707 Fair Oaks Blvd
        Fair Oaks, CA 95628




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           8:20-bk-13014-MW
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Dept of Tax and Fee Admi                       Check all that apply.
           Special Ops, MIC 29                                          Contingent
           PO Box 942879                                                Unliquidated
           Sacramento, CA 94279-0005                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Franchise Tax Board                                       Check all that apply.
           Attn: Bankruptcy Unit                                        Contingent
           P.O. Box 2952                                                Unliquidated
           Sacramento, CA 95812-2952                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 2
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            Case 8:20-bk-13014-MW                             Doc 17 Filed 11/10/20 Entered 11/10/20 18:02:37                                                     Desc
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 Debtor       Northern Holding, LLC                                                                           Case number (if known)          8:20-bk-13014-MW
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00     $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $6,440,000.00
           Erich Russell                                                               Contingent
           2380 Live Oak Road                                                          Unliquidated
           Paso Robles, CA 93446                                                       Disputed
           Date(s) debt was incurred 10/27/2020
                                                                                   Basis for the claim:     Carry-back unsecured debt via purchase owed to prior
           Last 4 digits of account number                                         owner.
                                                                                   Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                             related creditor (if any) listed?              account number, if
                                                                                                                                                            any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                Total of claim amounts
 5a. Total claims from Part 1                                                                                    5a.        $                          0.00
 5b. Total claims from Part 2                                                                                    5b.   +    $                  6,440,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                         5c.        $                      6,440,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.1.        State what the contract or                   Apartment at 1172
             lease is for and the nature of               property.
             the debtor's interest

                  State the term remaining                Lease ends 6/30/2021
                                                                                           Bill Tolar
             List the contract number of any                                               1172 San Marcos Road
                   government contract                                                     Paso Robles, CA 93446


 2.2.        State what the contract or                   Lease for "larger unit" at
             lease is for and the nature of               Live Oak.
             the debtor's interest

                  State the term remaining                Lease ends 1/1/2022
                                                                                           Erich Russell
             List the contract number of any                                               2380 Live Oak Road
                   government contract                                                     Paso Robles, CA 93446


 2.3.        State what the contract or                   Lease for winery facility
             lease is for and the nature of               at 1172 property.
             the debtor's interest

                  State the term remaining                Lease ends 1/1/2022
                                                                                           Rabbit Ridge Wine Sales, Inc.
             List the contract number of any                                               1170 San Marcos Road
                   government contract                                                     Paso Robles, CA




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Erich Russell                     2380 Live Oak Road                                Farm Credit West,                  D   2.1
                                               Paso Robles, CA 93446                             FLCA                               E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     RESNIK HAYES MORADI, LLP.
                 17609 Ventura Blvd.
                 Ste 314
                 Encino, CA 91316                                    Attorney fees $33,283 plus $1,717 filing fee              10/28/2020             $33,283.00

                 Email or website address
                 matt@rhmfirm.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
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    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Northern Holding, LLC                                                                             EIN:         XX-XXXXXXX
                                                                                                               From-To      2012 - present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Dominic Levis                                                                                                        2013 - 2017
                    1212 York Road, Ste. C-300
                    Lutherville Timonium, MD 21093

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Leroy Codding                                                                                      Sole owner and managing               100%
                                                                                                          member



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


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            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Fill in this information to identify the case:

 Debtor name         Northern Holding, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:20-bk-13014-MW
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 10, 2020

                                                                        Leroy Codding
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re       Northern Holding, LLC                                                                            Case No.      8:20-bk-13014-MW
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 33,283.00
             Prior to the filing of this statement I have received                                        $                 33,283.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 10, 2020                                                            /s/ Matthew D. Resnik
     Date                                                                         Matthew D. Resnik
                                                                                  Signature of Attorney
                                                                                  RESNIK HAYES MORADI, LLP.
                                                                                  17609 Ventura Blvd.
                                                                                  Ste 314
                                                                                  Encino, CA 91316
                                                                                  (818) 285-0100 Fax: (818) 855-7013
                                                                                  matt@rhmfirm.com
                                                                                  Name of law firm




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17609 Ventura Blvd., Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): SUMMARY OF ASSETS AND LIABILITIES;
SCHEDULES A/B, D, E/F, G, H; DECLARATION RE NON-INDIVUDUAL DEBTORS SCHEDULES; STATEMENT OF
FINANCIAL AFFAIRS; DISCLOSURE OF ATTORNEY COMPENSATION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 11/10/2020, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •    Nancy S Goldenberg nancy.goldenberg@usdoj.gov
    •    Michael J Gomez mgomez@frandzel.com, dmoore@frandzel.com
    •    Matthew D. Resnik matt@rhmfirm.com,
         roksana@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfi
         rm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
    •    United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/10/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

No Judge's Copy required for documents less than 25-pages per GENERAL ORDER 20-04 - IN RE: PROCEDURES FOR
PHASED REOPENING DURING COVID-19 PUBLIC EMERGENCY.

Northern Holding, LLC
13217 Jamboree Rd #429
Tustin CA 92783

    Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/10/2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.
                                                                               Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/10/2020                   Daniel Lavin                                                       /s/ Daniel Lavin
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
